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 1   McGREGOR W. SCOTT
     United States Attorney
 2   LAUREL J. MONTOYA
     Assistant U.S. Attorney
 3   4401 Federal Courthouse
     2500 Tulare Street
 4   Fresno, California 93721
     Telephone: (559) 497-4000
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 8                        IN THE UNITED STATES DISTRICT COURT FOR THE

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        )       1:06-cr-00171 OWW
                                                      )
12                          Plaintiff,                )
                                                      )
13                  v.                                )       STIPULATION TO CONTINUE
                                                      )       MOTIONS HEARING AND
14   ERNIE LIPPS,                                     )       ORDER THEREON
                                                      )
15                          Defendant.                )
                                                      )
16

17           IT IS HEREBY STIPULATED by and between the parties hereto, and through their

18   respective counsel, that the change of plea hearing currently set for February 4, 2008 may be

19   continued to February 11, 2008 at 9:00 a.m. as to defendant Ernie Lipps. This request is being

20   made due to the fact that a scheduling conflict has arisen. A signed plea agreement has been filed

21   with the court. The parties agree that the delay resulting from the continuance shall be excluded in

22   the interests of justice, including but not limited to, the need for the period of time set forth herein

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        Case 1:06-cr-00171-DAD Document 275 Filed 02/01/08 Page 2 of 2



 1   for continuity of counsel pursuant to 18 U.S.C. §§ 3161(h)(8)(A), and 3161(h)(8)(B)(I).

 2   Dated: January 30, 2008                                    McGREGOR W. SCOTT
                                                                United States Attorney
 3

 4                                                              By: /s/ Laurel J. Montoya
                                                                LAUREL J. MONTOYA
 5                                                              Assistant U.S. Attorney

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 7   Dated: January 30, 2008                                    /s/ Steven Crawford
                                                                STEVEN CRAWFORD
 8                                                              Attorney for the Defendant Ernie
                                                                Lipps
 9

10                              ORDER CONTINUING HEARING DATE

11          IT IS SO ORDERED. The change of plea hearing is continued to February 11, 2008 at

12   9:00 a.m. Time is excluded in the interests of justice pursuant to 18 U.S.C. §§ 3161(h)(8)(A), and

13   3161(h)(8)(B)(i).

14   IT IS SO ORDERED.

15   Dated: January 31, 2008                         /s/ Oliver W. Wanger
     emm0d6                                     UNITED STATES DISTRICT JUDGE
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